       Case 4:15-cv-05033-EFS    ECF No. 51    filed 06/08/21   PageID.472 Page 1 of 2




1                                                                         FILED IN THE
                                                                      U.S. DISTRICT COURT
                                                                EASTERN DISTRICT OF WASHINGTON
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3
                                                                 Jun 08, 2021
                                                                     SEAN F. MCAVOY, CLERK

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5
                          UNITED STATES DISTRICT COURT
6                        EASTERN DISTRICT OF WASHINGTON

7

8    ELISEO GUTIERREZ and VERONICA              No.   4:15-CV-5033
     GUTIERREZ, husband and wife; and
9    DR. MICHASEL SCOTT ANGLESEY,
     individually,                              ORDER DISMISSING CASE
10

11                            Plaintiffs,

12               v.

13   ALLIED PROFESSIONALS
     INSURANCE COMPANY, Risk
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     Retention Group, Inc., an Arizona
15   Corporation,

16                            Defendants.

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18
           On June 8, 2021, the parties filed a stipulated dismissal, ECF No. 50.
19
     Consistent with the parties’ agreement and Federal Rule of Civil Procedure 41(a),
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     IT IS HEREBY ORDERED:
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22         1.    The parties’ Stipulated Motion and Order to Dismiss, ECF No. 50, is

23               GRANTED.

24         2.    All claims are DISMISSED WITH PREJUDICE, with all parties to
25
                 bear their own costs and attorney fees.
26
           3.    All hearings and other deadlines are STRICKEN.



     ORDER DISMISSING CASE - 1
       Case 4:15-cv-05033-EFS     ECF No. 51    filed 06/08/21   PageID.473 Page 2 of 2




1          4.     The Clerk’s Office is directed to CLOSE this file.
2
           IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order
3
     and provide copies to all counsel.
4
           DATED this 8th day of June 2021.
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7                                    EDWARD F. SHEA
                             Senior United States District Judge
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     ORDER DISMISSING CASE - 2
